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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA      :
                              :                      CASE NO. 21-cr-40 (TNM)
          v.                  :
                              :
CHRISTOPHER JOSEPH QUAGLIN, :
STEVEN CAPPUCCIO, and FEDERICO:
KLEIN,                        :
                              :
              Defendants.     :

      GOVERNMENT’S RESPONSE TO DEFENDANT QUAGLIN’S NOTICE OF
       INTENTION TO FILE A MOTION FOR A CONTINUANCE OF TRIAL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits its response to defendant Quaglin’s Notice of

Defendant’s Intention to File a Motion for a Continuance of Trial (Dkt. Entry 578). As set out

below, the government opposes the defendant’s newest request for a continuance in this case and

respectfully requests that the Court set a hearing on the motion as soon as practicable.

                               PROCEDURAL BACKGROUND

       On April 16, 2021, defendant Quaglin was indicted on a number of charges relating to his

participation in the attack on the U.S. Capitol, including multiple charges of assaulting law

enforcement officers and obstructing Congress. Dkt. Entry 37. Over the next several months,

additional charges and defendants – including co-defendants Klein and Cappuccio – were added

to the indictment. The current indictment, the Fifth Superseding Indictment, was returned on

December 1, 2021. Dkt. Entry 179.

       On December 17, 2021, the Court set a jury trial for defendants Quaglin, Cappuccio, and

Klein (Group Two) for September 26, 2022. 12/17/2021 Minute Entry. On July 27, 2022,

defendant Klein filed a motion to continue the trial. Dkt. Entry 397. On July 29, 2022, defendant



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Quaglin filed his own motion for a continuance citing his counsel’s health issues.. Dkt. Entry 406.

At the pretrial conference on August 23, 2022, the Court reluctantly granted the defendants’

motions to continue and re-set the trial date to April 10, 2023.

       On September 22, 2022, defense counsel Jonathan Gross filed an appearance in the case

on behalf of defendant Quaglin. Dkt. Entry 475. On March 6, 2023, defendant Quaglin’s other

counsel, Joseph McBride, filed a motion to withdraw. Dkt. Entry 559. In Mr. McBride’s motion,

he claimed that his March 27, 2023, trial in United States v. Taylor Nichols, 21-CR-117 meant he

could not be ready for trial “anytime soon” in this case. His motion noted that Mr. Gross was also

co-counsel in the Nichols case and would withdraw from that case in order to serve as sole counsel

for Mr. Quaglin in the upcoming trial in this case. Id. The Court granted Mr. McBride’s motion to

withdraw on the same day. 3/6/2023 Minute Order.

       Today, defendant Quaglin filed a motion to continue the April 10, 2023, trial, which has

been set since long before his counsel’s appearance in this case in September 2022. Dkt. Entry

578. Defendant’s motion states that his counsel strictly observes the holiday of Passover which

includes the first three days of the scheduled trial and asks the Court to continue the trial for 12

months. Id.

                                           ARGUMENT

       The government opposes defendant Quaglin’s latest attempt to continue this trial. The case

history indicates that defendant’s latest motion is nothing more than a delay tactic. First, defense

counsel was or should have been aware of the April 10 trial date when he entered an appearance

in this case in September 2022. Counsel should not have agreed to serve as defense counsel when

he knew that he had a clear conflict with the current trial date. Even so, counsel filed an appearance




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anyway and failed to raise this conflict with the Court until now, less than four weeks before the

trial begins.

        Defense counsel had a second opportunity to avoid his scheduling conflict when he and his

co-counsel became aware of their competing schedules in this case and the Nichols case. It is

entirely unclear why defendant Quaglin’s former counsel would choose to handle the Nichols trial,

which is set to occur well in advance of the Passover holiday, leaving current counsel to handle

the trial with which he has an obvious and foreseeable conflict. The opposite arrangement would

allow for coverage of both trials. So for a second time, defense counsel chose (perhaps

strategically) to pursue representation in a case where he knew he had a conflict. It appears from

this history that this is no accident but is a deliberate attempt by counsel and his client to again

delay this trial.1

        Accordingly, the government opposes defendant Quaglin’s latest motion to continue the

trial and asks the Court to set the motion for a hearing with all of the defendants as soon as

practicable. The government notes that it is not opposed to a short continuance in order to

accommodate counsel’s religious obligations. However, the government strongly objects to a 12-

month continuance.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney

                                      By:     /s/ Kaitlin Klamann

                                              ASHLEY AKERS
                                              Trial Attorney, Detailee


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 The government notes that defendant Quaglin has staked out contradictory positions in his recent
motions: Mr. Quaglin complains about his prolonged incarceration but simultaneously asks to
continue his trial in this case for the lengthy period of 12 months due to a claimed conflict of
merely three days.
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